Case 2:20-cv-00359-GW-E Document 160 Filed 07/27/21 Page 1 of 3 Page ID #:14720



   1
   2
   3
   4
   5
   6
   7
   8
                             UNITED STATES DISTRICT COURT
   9
                            CENTRAL DISTRICT OF CALIFORNIA
  10
  11   NICHIA CORPORATION,                         Case No. CV 20-359-GW-Ex
                                                   Hon. George H. Wu, Ctrm. 9D
  12                   Plaintiff,                  Mag. Judge Charles F. Eick, Ctrm 750
  13         v.                                    ORDER GRANTING
                                                   STIPULATION TO CONTINUE
  14   FEIT ELECTRIC COMPANY, INC.,                HEARING DATE AND RELATED
                                                   DATES REGARDING
  15                   Defendant.                  DEFENDANT FEIT ELECTRIC
                                                   COMPANY, INC.’S MOTION FOR
  16                                               LEAVE TO AMEND ITS
                                                   ANSWER
  17
                                                   New Hearing Date: September 2,
  18                                                        2021
                                                   Time: 8:30 a.m.
  19                                               Ctrm: 9D
  20                                               Fact Disc. Cut-off: Aug. 20, 2021
                                                   Expert Disc. Cut-off: Oct. 29, 2021
  21                                               Pretrial Conference: January 13, 2022
                                                   Jury Trial: January 25, 2022
  22
  23         Having considered the stipulation submitted by Plaintiff Nichia Corporation
  24   and Defendant Feit Electric Company, Inc. and good cause appearing, the court
  25   approves the stipulation:
  26         NOW, THEREFORE, IT IS HEREBY ORDERED that:
  27         The hearing date on defendant Feit’s Motion to Amend Answer is continued
  28   from August 19, 2021 to September 9, 2021 at 8:30 a.m. in Courtroom 9D, and
Case 2:20-cv-00359-GW-E Document 160 Filed 07/27/21 Page 2 of 3 Page ID #:14721



   1   plaintiff Nichia’s opposition to the Motion to Amend Answer is due on August 6,
   2   2021 and defendant Feit’s reply to the Motion to Amend Answer is due on
   3   August 19, 2021.
   4
   5   Dated: July 27, 2021
   6                                               Hon. George H. Wu
                                                   United States District Judge
   7
   8   Submitted by:
   9   DATED: July 26, 2021           By:   /s/ Elizabeth M. Weldon
  10
                                      SNELL & WILMER L.L.P
  11
  12                                  WILLIAM S. O’HARE (SBN 82562)
                                      wohare@swlaw.com
  13                                  ELIZABETH M. WELDON (SBN 223452)
                                      eweldon@swlaw.com
  14
                                      600 Anton Blvd., Suite 1400
  15                                  Costa Mesa, CA 92626
                                      Telephone: (714) 427-7000
  16
                                      Facsimile: (714) 427-7799
  17
                                      ROTHWELL, FIGG, ERNST & MANBECK P.C.
  18
  19                                  ROBERT P. PARKER (pro hac vice)
  20                                  rparker@rfem.com
                                      MARTIN M. ZOLTICK (pro hac vice)
  21                                  mzoltick@rfem.com
                                      JENNY COLGATE (pro hac vice)
  22                                  jcolgate@rfem.com
  23                                  MICHAEL JONES (pro hac vice)
                                      mjones@rfem.com
  24                                  DANIEL R. MCCALLUM (pro hac vice)
  25                                  dmccallum@rfem.com
                                      MARK RAWLS (pro hac vice)
  26                                  mrawls@rfem.com
  27                                  D. LAWSON ALLEN (pro hac vice)
                                      lallen@rfem.com
  28                                  ROTHWELL, FIGG, ERNST &MANBECK P.C.
                                             -2-
Case 2:20-cv-00359-GW-E Document 160 Filed 07/27/21 Page 3 of 3 Page ID #:14722



   1                                607 14th Street N.W., Suite 800
   2                                Washington, DC 20005
                                    Telephone: (202) 783-6040
   3                                Facsimile: (202) 783-6031
   4
                                    Attorneys for Plaintiff Nichia Corporation
   5
   6
                                    By: /s/ Kal Shah
   7
                                    STRADLING YOCCA CARLSON & RAUTH,
   8                                P.C.
   9
                                    SALIL BALI (SBN 263001)
  10                                sbali@sycr.com
                                    MATTHEW R. STEPHENS (SBN 288223)
  11                                mstephens@sycr.com
  12                                STRADLING YOCCA CARLSON & RAUTH, P.C.
                                    660 Newport Center Drive, Ste. 1600
  13                                Newport Beach, CA 92660
                                    Telephone: (949) 725-4000
  14
                                    BENESCH, FRIEDLANDER, COPLAN &
  15                                ARONOFF LLP
  16
                                    KAL SHAH (admitted pro hac vice)
  17                                kshah@beneschlaw.com
                                    SIMEON PAPACOSTAS (admitted pro hac vice)
  18                                spapacostas@beneschlaw.com
  19                                KATHERINE A. SMITH
                                    ksmith@beneschlaw.com
  20                                BENESCH, FRIEDLANDER, COPLAN &
                                    ARONOFF LLP
  21                                71 S. Wacker Drive, Suite 1600
  22                                Chicago, IL 60606
                                    Telephone: (312) 212-4949
  23                                Facsimile: (312) 767-9192
       4844-3115-9283.1
  24
  25
  26
  27
  28
                                           -3-
